         Case 3:08-cv-00746-WWE Document 280 Filed 07/12/10 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT

BING WU; FENG;
FENG CHUN GUAN; TINA WANG;
GUI BIN CAI; JUN ZHANG;
QIN PING YUAN; JIN LU MA;
ZHEN HAI HE; BAO WEN TAN;

    v.                                                             3:08cv746(WWE)

CHANG’S GARDEN OF STORRS, LLC;
LE SHIH CHANG; HSIANG I. CHANG;
WEI-WEI CHANG;
CHANG’S GARDEN OF CT, INC.


                                             ORDER

         The parties have reported that this action has been settled in full. Rather than

continue to keep the case open on the docket, the Clerk is directed to administratively

close the file without prejudice to reopening on or before August 12, 2010.

         If the parties wish to file a stipulation of dismissal (for approval by the court or

simply for inclusion in the court’s file), they may do so on or before August 12, 2010.

         The dates set forth in this order may be extended for good cause pursuant to a

motion filed in accordance with Local Rule 7.

         So ORDERED.

         Dated at Bridgeport, Connecticut, this 12th day of July, 2010.



                                                                   /s/
                                                           Warren W. Eginton
                                                         Senior U. S. District Judge
